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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                           CASE NO. 24-23015-CV-WILLIAMS

 MACK WELLS, et al.,

         Plaintiffs,

 v.

 U.S. BANK N.A., et al.,

      Defendants.
 ______________________________/

                  ORDER RECUSING JUDGE AND REASSIGNING CASE

       The undersigned District Judge, to whom the above-styled case has been
 assigned, recuses herself and refers the case to the Clerk of Court for reassignment
 pursuant to 28 U.S.C. § 455.

         DONE AND ORDERED in Chambers in Miami, Florida, this 23rd day of August,
 2024.




        In accordance with the Local Rules for the Southern District of Florida, providing
 for the random and equal allotment of cases, this cause is hereby reassigned to the
 calendar of United States District Judge Sheri Chappell                    .

       All documents for filing in this case shall carry the following case number and
 designation: 24-23015-CV-Chappell             .

                                23 day of _________,
         By Order of Court this ___       September 2024.


                                                ANGELA E. NOBLE
                                                Court Administrator/Clerk of Court


                                          By:      Valerie Kemp
                                                Deputy Clerk
